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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        STATE OF CALIFORNIA,
                                   7                                                       Case No. 3:18-cv-01865-RS
                                                       Plaintiff,
                                   8
                                                v.                                         ORDER SETTING INITIAL CASE
                                   9                                                       MANAGEMENT CONFERENCE
                                        WILBUR ROSS, et al.,                               AND ADR DEADLINES
                                  10
                                                       Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           IT IS HEREBY ORDERED that this action is assigned to the Honorable Richard Seeborg.

                                  14   When serving the complaint or notice of removal, the plaintiff or removing defendant must serve

                                  15   on all other parties a copy of this order and all other documents specified in Civil Local Rule 4-2.

                                  16   Counsel must comply with the case schedule listed below unless the Court otherwise orders.

                                  17           IT IS FURTHER ORDERED that this action is assigned to the Alternative Dispute

                                  18   Resolution (ADR) Multi-Option Program governed by ADR Local Rule 3. Counsel and clients

                                  19   shall familiarize themselves with that rule and with the material entitled “Dispute Resolution

                                  20   Procedures in the Northern District of California” on the Court ADR Internet site at

                                  21   http://www.cand.uscourts.gov/adr. A limited number of printed copies are available from the

                                  22   Clerk’s Office for parties in cases not subject to the court’s Electronic Case Filing program (ECF).

                                  23

                                  24                      CASE SCHEDULE – ADR MULTI-OPTION PROGRAM

                                  25    Date            Event                                                       Governing Rule

                                  26    3/26/2018       Complaint Filed

                                  27    6/7/2018        *Last day to:                                               FRCivP 26(f) & ADR
                                                        • meet and confer re: initial disclosures, early            L.R.3-5
                                  28
                                             Case 3:18-cv-01865-RS Document 8 Filed 04/02/18 Page 2 of 2



                                                           settlement, ADR process selection, and discovery plan
                                   1

                                   2

                                   3                       • file ADR Certification signed by Parties and Counsel              Civil L.R . 16-8(b) &
                                                           (form available at http://www.cand.uscourts.gov)                    ADR L.R. 3-5(b)
                                   4

                                   5                       • file either Stipulation to ADR Process or Notice of               Civil L.R . 16-8(c) &
                                                           Need for ADR Phone Conference                                       ADR L.R. 3-5(b)
                                   6                       http://www.adr.cand.uscourts.gov
                                   7                       (form available at http://www.cand.uscourts.gov)
                                   8    6/21/2018          Last day to file Rule 26(f) Report, complete initial                FRCivP 26(a) (1) Civil
                                                           disclosures or state objection in Rule 26(f) Report and             L.R . 16-9
                                   9
                                                           file Case Management Statement per Standing Order re
                                  10                       Contents of Joint Case Management Statement
                                                           (also available at http://www.cand.uscourts.gov)
                                  11
                                        6/28/2018          INITIAL CASE MANAGEMENT CONFERENCE                                  Civil L.R . 16-10
                                  12
Northern District of California




                                                           (CMC) at 10:00 AM in:
 United States District Court




                                  13                       Courtroom 3, 17th Floor
                                  14                       Phillip Burton Federal Building
                                                           450 Golden Gate Avenue
                                  15                       San Francisco, CA 94102

                                  16

                                  17   * If the Initial Case Management Conference is continued, the other deadlines are continued accordingly.

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                             UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


                 NOTICE OF ELIGIBILITY FOR VIDEO RECORDING



       This case is assigned to a judge who participates in the Cameras in the Courtroom Pilot

Project. See General Order 65 and cand.uscourts.gov/cameras. The parties’ consent is required

before any proceedings in this case may be recorded. If a party, the presiding judge, or a

member of the media requests that a proceeding be recorded, consent of the parties will be

presumed unless a party submits an Objection to Request for Video Recording form as directed

by the Cameras in the Courtroom Procedures.



       Parties objecting to video recording are asked, for research purposes, to communicate to

the Court the reasons for declining to participate. If you decline to participate, you should

candidly convey the reasons for your decision. Whether you agree to participate or decline to

participate will have no effect on your case whatsoever.




                                                      Susan Y. Soong, Clerk of Court
